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                       UNITED STATES DISTRICT COURT           July 07, 2021
                      EASTERN DISTRICT OF CALIFORNIA       CLERK, US DISTRICT COURT
                                                                        EASTERN DISTRICT OF
                                                                            CALIFORNIA


UNITED STATES OF AMERICA,                      Case No. 2:21-cr-00035-JAM

                 Plaintiff,

        v.                                             ORDER FOR RELEASE OF
                                                        PERSON IN CUSTODY
FRANK HOWARD GOWANS, JR.,

                 Defendant.

TO:     UNITED STATES MARSHAL:

        This is to authorize and direct you to release FRANK HOWARD GOWANS,

JR. ,

Case No. 2:21-cr-00035-JAM Charge 21 USC § 846, 841(a)(1), from custody for

the following reasons:

                         Release on Personal Recognizance

                         Bail Posted in the Sum of $

                                Unsecured Appearance Bond $

                                Appearance Bond with 10% Deposit

                                Appearance Bond with Surety

                                Corporate Surety Bail Bond

                                (Other): The defendant is to be released on July 10,

                                2021 at 8:00 AM to the custody of Renissa Gowans
                           X
                                and instructed to return to the Sacramento County Mail

                                Jail by 8:00 PM on July 10, 2021.

        Issued at Sacramento, California on July 07, 2021 at 5:05 PM.



                                      By:

                                            Magistrate Judge Allison Claire
